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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-00072-GEB
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER
14   SHERRELL DAVIS,                                      DATE: July 29, 2016
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on July 29, 2016.

21          2.       By this stipulation, defendant now moves to continue the status conference until August

22 5, 2016, and to exclude time between July 29, 2016, and August 5, 2016, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     The government has represented that the discovery associated with this case

25          includes an extensive amount of tax information and tax returns, interview summaries, bank

26          records, and various other categories of information together totaling over 17,000 pages. All of

27          this discovery has been either produced directly to counsel and/or made available for inspection

28          and copying.


      STIPULATION REGARDING EXCLUDABLE TIME               1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                  b)   Counsel for defendant desires additional time in particular to continue reviewing

 2        and analyzing the lengthy discovery and to further consult with his client, as well as to conduct

 3        investigation and research related to the charges and discuss potential resolutions with his client

 4        and to otherwise prepare for trial.

 5                  c)   Counsel for defendant believes that failure to grant the above-requested

 6        continuance would deny him the reasonable time necessary for effective preparation, taking into

 7        account the exercise of due diligence.

 8                  d)   The government does not object to the continuance.

 9                  e)   Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12                  f)   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of July 29, 2016 to August 5, 2016,

14        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

15        because it results from a continuance granted by the Court at defendant’s request on the basis of

16        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

17        of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: July 28, 2016                                      PHILLIP A. TALBERT
 6                                                             Acting United States Attorney
 7
                                                               /s/ CHRISTOPHER S. HALES
 8                                                             CHRISTOPHER S. HALES
                                                               Assistant United States Attorney
 9
10
     Dated: July 28, 2016                                      /s/ MARK REICHEL
11                                                             MARK REICHEL
12                                                             Counsel for Defendant
                                                               SHERRELL DAVIS
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16                                           FINDINGS AND ORDER

17          IT IS SO FOUND AND ORDERED.

18

19          Dated: July 29, 2016

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      STIPULATION REGARDING EXCLUDABLE TIME                3
30    PERIODS UNDER SPEEDY TRIAL ACT
